  Case 1:21-cr-00245-AJT Document 99 Filed 10/03/22 Page 1 of 7 PageID# 490




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )       Case No. 1:21-cr-00245-AJT
                                              )
IGOR Y. DANCHENKO,                            )
                                              )
                       Defendant.             )

     DEFENDANT IGOR DANCHENKO’S MOTIONS IN LIMINE TO EXCLUDE
     EVIDENCE OR ARGUMENT THAT MR. DANCHENKO PROVIDED FALSE
          STATEMENTS THROUGH CONCEALMENT OR OMISSION
      AND TO EXCLUDE EVIDENCE REGARDING THE MATERIALITY OF
              UNCHARGED ALLEGEDLY FALSE STAEMENTS

       For the reasons detailed herein, Defendant Igor Danchenko, through counsel, respectfully

requests that the Court preclude the Special Counsel from presenting certain irrelevant, unduly

prejudicial, misleading, and confusing evidence including, (1) evidence or argument that Mr.

Danchenko concealed, withheld, or omitted information in response to questions by FBI agents,

and (2) evidence or argument regarding the materiality of uncharged statements or omissions.

                                          ARGUMENT

       Only relevant evidence is admissible. See Fed. R. Evid. 402. Evidence is only relevant if it

tends to make a legally consequential fact (a fact that is of consequence in determining the action)

more or less probable. See Fed. R. Evid. 401. Moreover, this Court has broad discretion to exclude

relevant evidence where the probative value is substantially outweighed by the danger of unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence. Fed. R. Evid. 403; United States v. Grier, 619 F. App’x 227, 228

(4th Cir. 2015) (citing United States v. Cole, 631 F.3d 146, 153 (4th Cir. 2011); United States v.

Johnson, 617 F.3d 286, 292 (4th Cir. 2010).



                                                  1
  Case 1:21-cr-00245-AJT Document 99 Filed 10/03/22 Page 2 of 7 PageID# 491




       The charges against Mr. Danchenko are narrow and straightforward. Pursuant to 18 U.S.C.

§ 1001(a)(2), which criminalizes affirmative materially false statements or representations, the

Special Counsel alleges that Mr. Danchenko lied about two specific events. As the Special Counsel

correctly noted in its motions in limine, “[a] jury will have to decide only whether the defendant

knowingly and willfully made materially false statements to the FBI regarding his sourcing for

information reflected in the Steele Reports. Nothing more, nothing less.” SCO Motion at 34

(emphasis added). Accordingly, Mr. Danchenko respectfully requests that this Court preclude the

Special Counsel from muddying the waters, prejudicing Mr. Danchenko, and confusing or

influencing the jury by introducing evidence and argument that is irrelevant to the only questions

before the jury – (1) whether Mr. Danchenko made affirmative false statements to the FBI as

charged in Counts 1 through 5 of the Indictment, and (2) whether each allegedly false statement,

when analyzed independently, is material because it had the tendency or capability to influence a

specific government decision.

I. The Special Counsel Charged Mr. Danchenko With Affirmatively Making False
   Statements or Representations. Accordingly, the Court Should Preclude the Special
   Counsel from Presenting Irrelevant and Unduly Prejudicial Evidence or Argument to
   Suggest that Mr. Danchenko Concealed, Withheld, or Omitted Information in Response
   to Questions from the FBI.

       Perhaps recognizing the weakness of its case, the Special Counsel has begun to argue that

Count One should survive because, according to the Special Counsel, Mr. Danchenko should have

known that the FBI was interested in all communications he had with Dolan and he did not disclose

a single email communication with Dolan in response to questioning by and FBI agent. Further,

the Special Counsel has referenced the fact that Mr. Danchenko did not provide the FBI with two

additional emails he sent to Sergei Millian in connection with the false statements charged in Count

Two through Five. Evidence and argument that suggest Mr. Danchenko omitted information are



                                                 2
    Case 1:21-cr-00245-AJT Document 99 Filed 10/03/22 Page 3 of 7 PageID# 492




irrelevant, unduly prejudicial, would result in a fatal variance from the Indictment, and are

impermissible 404(b) evidence.

       With respect to Count One, the Special Counsel should not be permitted to argue that Mr.

Danchenko knew the FBI was interested in email communications and omitted such information

from his answer. Such an argument would be a false statement by omission or concealment theory

under 18 U.S.C. § 1001(a)(1), which is not what the Special Counsel charged here. The Special

Counsel cannot now pursue a charge it chose not to indict.            Doing so would violate Mr.

Danchenko’s Fifth Amendment right to be indicted by a grand jury and would result in a fatal

variance from the indictment. See United States v. Ashley, 606 F.3d 135, 141 (4th Cir. 2010)

(“‘When the government, through its presentation of evidence or its argument, or the district court,

through its instructions to the jury, or both, broadens the bases for conviction beyond those charged

in the indictment, a constructive amendment—sometimes referred to as a fatal variance—occurs.’

[ ] To constitute a constructive amendment, the variance must in essence ‘change the elements of

the offense charged, such that the defendant is actually convicted of a crime other than that charged

in the indictment.’”). (Internal citations omitted). Moreover, such a theory would be legally

unsound because Mr. Danchenko was not under a duty to disclose such information to the FBI.

“Ordinarily, a defendant may not be convicted of concealment unless the defendant had a duty to

disclose.”1 United States v. Richeson, 825 F.2d 17, 20 (4th Cir. 1987) (citing United States v. Irwin,

654 F.2d 671, 678-79 (10th Cir. 1981), cert. denied, 455 U.S. 1016, 102 S.Ct. 1709, 72 L.Ed.2d

133 (1982)). In fact, the Government, through the Federal Law Enforcement Training Centers,

admonishes witnesses: “Do not volunteer information. If a question can be answered with a simple




1
 Mr. Danchenko was never asked to provide all correspondence with Dolan or Millian and Mr.
Danchenko never received a subpoena requesting such correspondence.
                                                  3
    Case 1:21-cr-00245-AJT Document 99 Filed 10/03/22 Page 4 of 7 PageID# 493




yes or no, just respond in that way.” Federal Law Enforcement Training Centers Training Video,

“Introduction and Basic Witness Skills” at 4:05 – 5:30 (https://www.fletc.gov/video/introduction-

and-basic-witness-skills).

        Further, the Special Counsel should not be permitted to present evidence or argument that

suggests Mr. Danchenko made other omissions to the FBI. Such evidence and arguments are

impermissible under Federal Rules of Evidence 404(b) and 403. Federal Rule of Evidence

404(b)(1) prohibits introducing evidence of a prior crime, wrong, or act as evidence of a person’s

bad character “to show that on a particular occasion the person acted in accordance with the

character.” Carlisle v. Allianz Life Ins. Co. of N. Am., 2021 WL 5104693, at *1 (E.D. Va. Aug. 26,

2021), aff’d, 2021 WL 5104694 (E.D. Va. Oct. 14, 2021). Federal Rule of Evidence 403 allows

the Court to exclude even relevant evidence where the probative value is substantially outweighed

by the danger of unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting

time, or needlessly presenting cumulative evidence. Allowing the Special Counsel to present such

evidence and arguments to the jury will confuse jurors and create an impermissible risk that a juror

will find that other uncharged omissions were somehow improper (they were not) and that Mr.

Danchenko made the alleged false statements at issue in accordance with that bad character.

Similarly, a juror may find that an omission is enough to prove a false statement under 18 U.S.C.

§ 1001(a)(2); it is not.2




2
 This is not a case of omission. See 18 U.S.C. § 1001(a)(1). The Special Counsel brought five
counts alleging that Mr. Danchenko made affirmative false statements. See 18 U.S.C. § 1001(a)(2).
The Special Counsel should be limited to evidence and arguments relevant to the actual charges
against Mr. Danchenko. Nothing more, nothing less.

                                                 4
  Case 1:21-cr-00245-AJT Document 99 Filed 10/03/22 Page 5 of 7 PageID# 494




II. The Special Counsel Bears the Burden to Prove That Each Charged Statement is Both
    False and Material. Accordingly, the Court Should Preclude the Special Counsel from
    Presenting Irrelevant Evidence or Argument Regarding the Materiality of Any
    Uncharged Statements or Omissions.

       In any criminal prosecution, the Government must prove every element of the alleged

crime beyond a reasonable doubt. In re Winship, 397 U.S. 358, 365 (1970) (reflecting that the

prosecution must prove beyond a reasonable doubt “the existence of every fact necessary to

constitute the crime charged”). In a false statements prosecution pursuant to 18 U.S.C. §

1001(a)(2), the Government must prove that the defendant knowingly and willfully made a false,

material statement or representation in a matter within the jurisdiction of a department or agency

of the United States. United States v. Stover, 499 Fed. App’x 267, 272–73 (4th Cir.2012) (citing

United States v. Camper, 384 F.3d 1073, 1075 (9th Cir.2004)). For each charged statement, the

Special Counsel must prove that the statement is both false and material. See 18 U.S.C. §

1001(a)(2). A statement is material if it has a natural tendency to influence, or is capable of

influencing, a particular decision of the agency to which it is addressed. United States v. Gaudin,

515 U.S. 506, 509 (1995) (citations omitted); United States v. Purpera, 844 F. App'x 614, 633 (4th

Cir.), cert. denied, 211 L. Ed. 2d 117, 142 S. Ct. 256 (2021) (citing United States v. Hamilton, 699

F.3d 356, 362 (4th Cir. 2012)). A statement is not material if it is merely of general interest to the

government. Id. Rather, the statement must be capable of influencing a particular government

decision. Id. Accordingly, for each count in the Indictment, the Special Counsel must prove that

each alleged false statement, considered independently, is material because the statement itself

could influence a specific government decision.

       Here, the Special Counsel charged Mr. Danchenko with making five specific affirmative

false statements. The Special Counsel must prove beyond a reasonable doubt that each of those

five charged statements are independently false and material. Evidence or argument about

                                                  5
  Case 1:21-cr-00245-AJT Document 99 Filed 10/03/22 Page 6 of 7 PageID# 495




uncharged statements, representations, or omissions is entirely irrelevant to whether each charged

statement is both false and material. Evidence or argument about uncharged statements,

representations, or omissions also presents a significant risk of confusing the jury and influencing

the jury to consider uncharged conduct rather than deciding whether the Special Counsel has met

its burden to prove that each of the five charged statements are both false and material.

Accordingly, Mr. Danchenko respectfully requests that this Court preclude the Special Counsel

from presenting evidence or argument about uncharged statements, representations, or omissions

as irrelevant and unduly prejudicial and confusing. See Fed. R. Evid. 402 and 403.

                                         CONCLUSION

       Based on the foregoing, Defendant Igor Danchenko respectfully requests that the Court

grant his motions in limine and preclude the Special Counsel from presenting (1) evidence or

argument that Mr. Danchenko concealed, withheld, or omitted information in response to questions

by FBI agents, and (2) evidence or argument regarding the materiality of uncharged statements or

omissions.


Dated: October 3, 2022                        Respectfully submitted,

                                              IGOR DANCHENKO
                                              By Counsel

                                                      /s/
                                              Stuart A. Sears (VSB 71436)
                                              Danny Onorato (Pro Hac Vice)
                                              SCHERTLER ONORATO MEAD & SEARS, LLP
                                              555 Thirteenth Street, NW
                                              Suite 500 West
                                              Washington, DC 20004
                                              Ph: 202-628-4199
                                              Fax: 202-628-4177
                                              ssears@schertlerlaw.com
                                              donorato@schertlerlaw.com



                                                 6
  Case 1:21-cr-00245-AJT Document 99 Filed 10/03/22 Page 7 of 7 PageID# 496




                                  CERTIFICATE OF SERVICE

       I certify that on October 3, 2022, I electronically filed a true and accurate copy of the

foregoing motion with the Clerk of Court using the CM/ECF system, which will send a notification

of such filing (NEF) to all parties.



                                                    /s/
                                            Stuart A. Sears (VSB 71436)
                                            Danny Onorato (Pro Hac Vice)
                                            SCHERTLER ONORATO MEAD & SEARS, LLP
                                            555 Thirteenth Street, NW
                                            Suite 500 West
                                            Washington, DC 20004
                                            Ph: 202-628-4199
                                            Fax: 202-628-4177
                                            ssears@schertlerlaw.com




                                               7
